                   Case 23-10961-BLS                  Doc 37         Filed 07/24/23          Page 1 of 13




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:
                                                                     Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                             Case No. 23-10961 (BLS)

                                                                     (Jointly Administered)
              Debtors.
                                                                     Hearing Date: TBD
                                                                     Objection Deadline: TBD


     DEBTORS’ FIRST OMNIBUS MOTION FOR ENTRY OF AN ORDER
AUTHORIZING THE DEBTORS TO REJECT CERTAIN EXECUTORY CONTRACTS
              EFFECTIVE AS OF THE REJECTION DATE

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

hereby submit this motion (this “Motion”) for entry of an order, substantially in the form attached

hereto as Exhibit A (the “Order”), pursuant to sections 105(a) and 365(a) of title 11 of the United

States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and rule 6006 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the Debtors to (a) reject certain

executory contracts set forth on Exhibit 1 to the Order (each, a “Contract,” and collectively, the

“Contracts”), effective as of July 22, 2023 (the “Rejection Date”) and (b) take such action as may

be necessary to implement and effectuate the rejection of the Contracts. In support of this Motion,

the Debtors respectfully state as follows:




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.

00054443.3                                                       1
              Case 23-10961-BLS          Doc 37       Filed 07/24/23    Page 2 of 13




                                     JURISDICTION AND VENUE

         1.    This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012.

         2.    This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

         3.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

         4.    The statutory predicates for the relief requested herein are sections 105(a) and 365(a)

of the Bankruptcy Code and Bankruptcy Rule 6006.

         5.    Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, the Debtors consent to the entry

of a final order or judgment by the Court in connection with this Motion to the extent it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                                         BACKGROUND

         6.    On July 22, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors have continued

in possession of their properties and have continued to operate and manage their business as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

has been made for the appointment of a trustee or examiner, and no official committee of

unsecured creditors has been appointed in any of these cases as of the date of this Motion.

         7.    The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Tracy Pagliara in Support of Chapter 11 Petitions and



00054443.3                                        2
               Case 23-10961-BLS        Doc 37       Filed 07/24/23    Page 3 of 13




First Day Pleadings (the “First Day Declaration”) filed on the Petition Date and incorporated

herein by reference.

         8.    The Debtors and their advisors are in the process of reviewing and analyzing the

contracts to which the Debtors are parties. Based upon this analysis, the Debtors have determined,

in their business judgment, that there is no longer a need for, or benefit to the Debtors or their

estates to maintain, the Contracts going forward. Rejection of each of the Contracts as of the

Rejection Date would benefit the Debtors’ estates because it will enable the Debtors to avoid the

accrual of any obligations related to materials and/or services provided under the Contracts

described below that are not needed by the Debtors or their estates.

         9.    Specifically, this Motion pertains to seventeen (17) Contracts, all of which concern

Williams Industrial Services, LLC’s (“WIS LLC”) bonded water projects located in Florida and

Texas. These Contracts are not profitable, and Debtors believe they should be rejected based on

sound business judgment.

         10.   The first Contract is a Contract, by and between Jacksonville Electric Authority

(“Jacksonville Electric”), and WIS LLC dated as of March 11, 2021. This Contract provides, inter

alia, that for completion of the 4211 Spring Park Rd Pump Station rehabilitation and upgrade.

         11.   The second Contract is a Twin Creeks Reclaimed Water Re-Pump Station

Improvements – Phase II Contract, by and between Jacksonville Electric, and WIS LLC dated as

of March 18, 2021. This Contract provides, inter alia, for completion of Twin Creeks Reclaimed

Water Re-Pump Station Improvements – Phase II.

         12.   The third Contract is a Consolidated Rivertown WTP Project Package Contract, by

and between Jacksonville Electric, and WIS LLC dated as of October 21, 2021. This Contract

provides, inter alia, for Consolidated Rivertown Water Treatment Plant Project Package Services.



00054443.3                                       3
               Case 23-10961-BLS       Doc 37       Filed 07/24/23     Page 4 of 13




         13.   The fourth Contract is a Constructions Services agreement for the Arlington East

WRF Secondary MCC Replacement Project Contract, by and between Jacksonville Electric, and

WIS LLC dated as of October 20, 2021. This Contract provides, inter alia, for construction

services for the Arlington East Water Reclamation Facility (WRF) Secondary MCC Replacement

Project.

         14.   The fifth Contract is a Contract, by and between Jacksonville Electric, and WIS

LLC dated as of January 22, 2023. This Contract provides, inter alia, for the Mandarin Water

Reclamation Facility (WRF) Sludge Holding Tanks Rehabilitation project.

         15.   The sixth Contract is a Contract, by and between Jacksonville Electric, and WIS

LLC dated as of February 24, 2021. This Contract provides, inter alia, for construction services

for the Holiday Road Master Pump Station (MPS) Rehabilitation.

         16.   The seventh Contract is a Contract, by and between Jacksonville Electric, and WIS

LLC dated as of October 31, 2019. This Contract provides, inter alia, for Construction Services

for the construction of a new booster station at 10477 Bradley Road.

         17.   The eighth Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for the Mandarin Water Reclamation Facility (WRF)

High Level UV upgrade project.

         18.   The ninth Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for construction services for the District II Water

Reclamation Facility (WRF) South Headworks Rehab.




00054443.3                                      4
               Case 23-10961-BLS         Doc 37       Filed 07/24/23   Page 5 of 13




         19.   The tenth Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for the Monterey Water Reclamation Facility (WRF)

Improvements – Phase 1, construction services for the Monterey WWTF UV Replacement project.

         20.   The eleventh Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for the Buckman WRF 1638 Talleyrand Ave. – Class

III/IV valves and screen installation.

         21.   The twelfth Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for Nassau Regional WTP Well 1 initial wellhead &

site work.

         22.   The thirteenth Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for District II WRF – providing labor and materials for

the basin concrete repairs & coatings.

         23.   The fourteenth Contract is a General Construction Services – Water/Wastewater

Contract, Amendment #1, by and between Jacksonville Electric, and WIS LLC dated as of October

5, 2022. This Contract provides, inter alia, for supplying labor, materials, and equipment to replace

two 150A circuit breakers with two 250A 480V breakers at Hogans Creek tower.

         24.   The fifteenth Contract is a DEP SRF Harbor Road WRF Expansion, Ph. 2, by and

between City of Green Cove Springs (“Green Cove Springs”), and WIS LLC dated as of February




00054443.3                                        5
                  Case 23-10961-BLS        Doc 37       Filed 07/24/23   Page 6 of 13




16, 2021. This Contract provides, inter alia, for DEP SRF Harbor Road WRF Expansion, Phase

2.

          25.      The sixteenth Contract is a Construction Contract, by and between St. John’s

County (“St. John’s”), and WIS LLC dated as of August 2, 2021. This Contract provides, inter

alia, for SR 16 WWTF Headworks & RAS/ WAS Improvements.

          26.      The seventeenth Contract is a Water Plant Construction Contract, by and between

Bridgestone Municipal District (“Bridgestone”), and WIS LLC dated as of August 16, 2021. This

Contract provides, inter alia, for construction of Water Plant No. 4 for Bridgestone Municipal

Utility District – Harris County, TX.

                                       RELIEF REQUESTED

          27.      By this Motion, the Debtors request entry of the Order, substantially in the form

attached hereto as Exhibit 1, authorizing the Debtors to (i) reject the Contracts, effective as of the

Rejection Date and (ii) take such actions as may be necessary to implement and effectuate the

rejections of the Contracts. The Debtors and their estates reserve any and all rights to assert that

the Contracts are not executory contracts, and nothing included in, or omitted from, this Motion

shall impair, prejudice, waive or otherwise affect such rights.

                                 BASIS FOR RELIEF REQUESTED

     I.         Rejection of the Contracts Reflects the Debtors’ Business Judgment.

          28.      The Debtors have determined that the Contracts are not integral to the Debtors’

chapter 11 efforts, are not otherwise beneficial to the Debtors’ estates and present burdensome

liabilities. Accordingly, the Debtors’ decision to reject the Contracts is a proper exercise of

business judgment, and the rejection should be approved.

          29.      Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the

court’s approval, may assume or reject any executory contract or unexpired lease of the debtor.”
00054443.3                                          6
               Case 23-10961-BLS         Doc 37       Filed 07/24/23   Page 7 of 13




11 U.S.C. § 365(a). “Courts may use § 365 to free a [debtor] from burdensome duties that hinder

its reorganization.” In re Exide Techs., 607 F.3d 957, 967 (3d Cir. 2010); NLRB v. Bildisco &

Bildisco (In re Bildisco), 465 U.S. 513, 528 (1984) (“[T]he authority to reject an executory contract

is vital to the basic purpose to a Chapter 11 reorganization, because rejection can release the

debtor’s estate from burdensome obligations that can impede a successful reorganization.”),

section 363(c)(1) of the Bankruptcy Code authorizes a debtor to “use property of the estate in the

ordinary course of business without notice or a hearing.” 11 U.S.C. § 363(c)(1). Section 363(c)(1)

extends to a debtor’s continued use of its customary cash management system and, thus, supports

the relief requested herein. See, e.g., Amdura Nat’l Distrib. Co. v. Amdura Corp. (In re Amdura

Corp.), 75 F.3d 1447, 1453 (10th Cir. 1996); Charter Co. v. Prudential Ins. Co. Am. (In re Charter

Co.), 778 F.2d 617, 621 (11th Cir. 1985) (indicating that an order authorizing the debtor to employ

a cash management system that was “usual and customary in the past” was “entirely consistent”

with section 363(c)(1)).

         30.   The Debtors’ rejection of an executory contract is governed by the “business

judgment” standard, which requires a debtor to have determined that the requested rejection would

benefit its estate. See In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982), aff’d, 465 U.S. 513 (“The

usual test for rejection of an executory contract is simply whether rejection would benefit the

estate, the ‘business judgment’ test.”); Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872

F.2d 36, 39–40 (3d Cir. 1989) (affirming the rejection of a service agreement as a sound exercise

of the debtor’s business judgment when the bankruptcy court found that such rejection would

benefit the debtors’ estate); see also In re Fed. Mogul Glob., Inc., 293 B.R. 124, 126 (D. Del. 2003)

(“In general, motions to reject executory contracts are evaluated under the business judgment




00054443.3                                        7
               Case 23-10961-BLS         Doc 37       Filed 07/24/23   Page 8 of 13




test.”); In re HQ Glob. Holdings, 290 B.R. 507, 511 (Bankr. D. Del. 2003) (“Under the business

judgment standard, the sole issue is whether the rejection benefits the estate.”).

         31.   In applying the business judgment standard, bankruptcy courts give deference to a

debtor’s decision to assume or reject contracts. See, e.g., In re Fed. Mogul Glob., Inc., 293 B.R.

at 126 (“The business judgment test dictates that a court should approve a debtor’s decision to

reject a contract unless that decision is the product of bad faith or a gross abuse of discretion.”);

In re Caribbean Petroleum Corp., 444 B.R. 263, 268 (Bankr. D. Del. 2010) (quoting In re Trans

World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“[A] debtor’s decision to reject

an executory contract must be summarily affirmed unless it is the product of bad faith, or whim

or caprice.”). Courts defer to a debtor’s business judgment in rejecting an executory contract, and

upon finding that a debtor has exercised its sound business judgment, approve the rejection under

section 365(a) of the Bankruptcy Code. See NLRB, 465 U.S. at 523 (recognizing “business

judgment” standard used to approve rejection of executory contracts).

         32.   Moreover, section 105(a) of the Bankruptcy Code provides that the Court “may

issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of this title.” 11 U.S.C. § 105(a). Section 105(a) allows the bankruptcy court to “craft flexible

remedies that, while not expressly authorized by the [Bankruptcy] Code, effect the result the

[Bankruptcy] Code was designed to obtain.” In re Combustion Eng’g, Inc., 391 F.3d 190, 235-36

(3d Cir. 2004) (citing Official Comm. of Unsecured Creditors of Cybergenics Corp. ex rel.

Cybergenics Corp. v. Chinery, 330 F.3d 548, 568 (3d Cir. 2003)). Section 105(a) therefore

provides additional authority for the Court to grant the relief requested herein.

         33.   The Debtors submit that rejection of the Contracts effective as of the applicable

Rejection Date is within the Debtors’ business judgment, and an appropriate step in furtherance of



00054443.3                                        8
                 Case 23-10961-BLS        Doc 37       Filed 07/24/23    Page 9 of 13




their efforts to preserve and maximize the value of their estates for all stakeholders. The Debtors

evaluated the Contracts in consultation with their professional advisors and determined that any

benefits provided by these Contracts do not equal or exceed the costs associated with the Contracts.

The Debtors’ rejection of the Contracts now will provide significant cost savings to the estate by

terminating any further costs and obligations.

         34.     The Contracts are not necessary for the Debtors’ Chapter 11 proceedings, are not

necessary or beneficial to the Debtors’ and sale efforts. Moreover, maintaining the Contracts could

create unnecessary and burdensome expenses for the Debtors’ estates. Thus, the Debtors have

determined that maintaining the Contracts is not in the best interests of the Debtors or their estates.

         35.     Accordingly, the decision to reject the Contracts is a proper exercise of the Debtors’

business judgment, and rejection of the Contracts therefore should be approved pursuant to section

365(a) of the Bankruptcy Code.

         36.     Courts in this district have routinely granted relief similar to the relief requested

herein. See, e.g., In re Carbonlite Holdings LLC, 21-10527 (JTD) (July 14, 2021) [D.I. 714]

(authorizing debtors to reject certain executory contracts effective as of the rejection date); In re

Lighthouse Resources Inc., 20-13056 (JTD) (Jan. 26, 2021) [D.I. 270] (authorizing debtors to reject

certain executory contracts and unexpired leases effective as of the rejection date); In re Lucky’s

Market Parent Company, LLC, 20-10166 (JTD) (April 9, 2020) [D.I. 587] (same); In re THG

Holdings LLC, 29-11689 (JTD) (Oct. 10, 2019) [D.I. 343] (same).

 II.           Deeming Each Contract Rejected Effective as of the Rejection Date is
               Appropriate.

         37.     The Debtors also respectfully submit that it is appropriate for the Court to deem the

Contracts rejected effective as of the Rejection Date.




00054443.3                                         9
               Case 23-10961-BLS          Doc 37     Filed 07/24/23       Page 10 of 13




         38.    Section 365 of the Bankruptcy Code does not restrict a bankruptcy court from

applying rejection retroactively. See SCS Co. v. Peter J. Schmitt Co., 1995 WL 1772010, at *2 (D.

Del. May 15, 1995) (noting that a bankruptcy court has authority to select a retroactive date for

the effective date of a lease’s rejection); see also In re Rupari Holding Corp., 2017 WL 5903498,

at *6 (Bankr. D. Del. Nov. 28, 2017) (authorizing rejection of employment agreements effective

as of a date before the debtor filed the motion to reject the same where debtor unequivocally

communicated to the employees that it no longer required their services at the closing of the sale).

         39.    Courts in this district and elsewhere have held that a bankruptcy court may, in its

discretion, authorize rejection retroactively to a date before entry of an order authorizing such

rejection where the balance of equities favors such relief. See In re Thinking Machs. Corp., 67 F.3d

1021, 1029 (1st Cir. 1995) (“[R]ejection under section 365(a) does not take effect until judicial

approval is secured, but the approving court has the equitable power, in suitable cases, to order a

rejection to operate retroactively.”); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004)

(stating “the court’s power to grant retroactive relief is derived from the bankruptcy court’s

equitable powers so long as it promotes the purposes of § 365(a)”); In re CCI Wireless, LLC, 297

B.R. 133, 140 (D. Colo. 2003) (holding that a “court has authority under section 365(d)(3) to set

the effective date of rejection at least as early as the filing date of the motion to reject”).

         40.    Furthermore, section 105(a) of the Bankruptcy Code provides that the Court “may

issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of this title.” 11 U.S.C. § 105(a).

         41.    In this instance, the balance of the equities favors the rejection of the Contracts

effective as of the applicable Rejection Date. Without a retroactive date of rejection, the Debtors

may be forced to incur unnecessary administrative costs for Contracts that do not provide any



00054443.3                                         10
                 Case 23-10961-BLS         Doc 37     Filed 07/24/23      Page 11 of 13




benefits to the Debtors and their estates. The Debtors anticipate filing a motion to establish a bar

date in these Chapter 11 Cases and the Contract counterparties shall have until the date fixed by

this Court to file any and all claims for damages arising from the Debtors’ rejection of the

Contracts.

         42.      Courts in this district have routinely granted relief similar to the relief requested

herein. See, e.g., In re Carbonlite Holdings LLC, 21-10527 (JTD) (July 14, 2021) [D.I. 714]

(authorizing debtors to reject certain executory contracts effective as of the rejection date); In re

Lighthouse Resources Inc., 20-13056 (JTD) (Jan. 26, 2021) [D.I. 270] (authorizing debtors to reject

certain executory contracts and unexpired leases effective as of the rejection date); In re Lucky’s

Market Parent Company, LLC, 20-10166 (JTD) (April 9, 2020) [D.I. 587] (same); In re THG

Holdings LLC, 29-11689 (JTD) (Oct. 10, 2019) [D.I. 343] (same).

III.           Compliance with Bankruptcy Rule 6006(f).

         43.      Bankruptcy Rule 6006(f) establishes requirements for a motion to reject

multiple executory contracts or unexpired leases that are not between the same parties. Rule 6006(f)

states, in part, that such motion shall:

                    (1)     state in a conspicuous place that parties receiving the omnibus motion
                            should locate their names and their contracts or leases listed in the
                            motion;

                    (2)     list parties alphabetically and identify the corresponding contract or lease;

                    (3)     specify the terms, including the curing of defaults, for each
                            requested assignment;

                    (4)     specify the terms, including the identity of each assignee and the
                            adequate assurance of future performance by each assignee, for each
                            requested assignment;

                    (5)     be numbered consecutively with other omnibus motions to assume,
                            assign, or reject executory contracts or unexpired leases;



00054443.3                                          11
               Case 23-10961-BLS        Doc 37      Filed 07/24/23     Page 12 of 13




                  (6)    be limited to no more than 100 executory contracts or unexpired
                         leases.

         44.    The Debtors respectfully submit that the relief requested in this Motion complies

with the requirements of Bankruptcy Rule 6006(f).

                               RESERVATION OF RIGHTS

         45.    Nothing in this Motion: (a) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the Debtors or their estates; (b) shall impair, prejudice, waive,

or otherwise affect the rights of the Debtors or their estates to contest the validity, priority, or

amount of any claim against the Debtors or their estates; (c) shall impair, prejudice, waive, or

otherwise affect the rights of the Debtors or their estates with respect to any and all claims or

causes of action against any third party or (d) shall be construed as a promise to pay a claim or

continue any applicable program post-petition, which decision shall be in the discretion of the

Debtors. Any payment made pursuant to an order of the Court granting the relief requested herein

is not intended to be nor should it be construed as an admission as to the validity of any claim or

a waiver of the Debtors’ rights to subsequently dispute such claim.

                                     NO PRIOR REQUEST

         46.    No prior request for the relief sought in the motion has been made to this or any

other court.




00054443.3                                       12
              Case 23-10961-BLS          Doc 37        Filed 07/24/23   Page 13 of 13




                                          CONCLUSION

         WHEREFORE, for the reasons set forth herein, the Debtors respectfully request that the

Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and (b) grant

such other and further relief as is just and proper.

 Dated: July 24, 2023.
 Wilmington, Delaware
                                               /s/ Mark L. Desgrosseilliers
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00054443.3                                        13
